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                                                                                    Texas Petroelum Operations, LLC
05/17/21                                                          Case 21-60052 Document  89-5 Filed in TXSB on 12/13/21 Page 1 of 6
Cash Basis                                                                                           Five year Projection
                                                                                                         2022 - 2026

                                        January      February        March          April          May          June          July          August      September     October      November     December     Total

                       2021
    Source of Funds                           0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00

    Total Funds                               0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00

    Expense
          Bank Fees                           0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Business Entertainment              0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Dues & Subscriptions                0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          General Liability Insurance         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Interest on Loans                   0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Consultants                         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Leases & Legal                      0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Debt Repayment                      0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Plotter Lease                       0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Postage & Delivery                  0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Property Tax                        0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Rent                                0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Storage                             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Repairs & Maintenance               0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Supplies                            0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Telephone & Fax                     0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Workman's Comp Insuance             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Frances Barber‐Buchanan             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Harry G. McMahon, III               0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Pedro Vega                          0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Toghrul Mammadov                    0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Scott Van Dyke                      0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
          Group Insurance                     0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00

    Total Expense                             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
    Cash at end of Month                      0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00           0.00
    Annual Cumulative                         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00
    5‐Year Cummulative                        0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00




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                                                                                      Texas Petroelum Operations, LLC
05/17/21                                                            Case 21-60052 Document  89-5 Filed in TXSB on 12/13/21 Page 2 of 6
Cash Basis                                                                                                Five year Projection
                                                                                                              2022 - 2026

                                        January       February         March           April           May           June            July          August        September      October       November      December         Total
                       2022
    Source of Funds
           Adams 1
    Total Funds                         250,000.00     250,000.00              0.00            0.00   350,000.00            0.00            0.00          0.00     83,427.75    181,382.62     227,736.09    238,808.01   1,581,354.46

    Expense
          Bank Fees                           ‐5.00         ‐5.00           ‐5.00           ‐5.00           ‐5.00         ‐5.00          ‐5.00           ‐5.00          ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐60.00
          Business Entertainment               0.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00           0.00
          Dues & Subscriptions                 0.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00           0.00
          General Liability Insurance     ‐1,472.00     ‐1,472.00       ‐1,472.00       ‐1,472.00       ‐1,472.00     ‐1,472.00      ‐1,472.00       ‐1,472.00      ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐17,664.00
          Interest on Loans               ‐4,166.67     ‐4,166.67       ‐4,166.67       ‐4,166.67       ‐4,166.67     ‐4,166.67      ‐4,166.67       ‐4,166.67      ‐4,166.67     ‐4,166.67     ‐4,166.67     ‐4,166.67     ‐50,000.04
          Consultants                          0.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00    ‐60,000.00    ‐20,000.00          0.00     ‐80,000.00
          Leases & Legal                 ‐50,000.00    ‐50,000.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00    ‐100,000.00
          Debt Repayment                       0.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00           0.00
          Permits                              0.00          0.00         ‐750.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00        ‐750.00
          Plotter Lease                     ‐216.06       ‐216.06         ‐216.06         ‐216.06         ‐216.06       ‐216.06        ‐216.06         ‐216.06        ‐216.06       ‐216.06       ‐216.06       ‐216.06      ‐2,592.72
          Postage & Delivery                 ‐17.00        ‐17.00          ‐17.00          ‐17.00          ‐17.00        ‐17.00         ‐17.00          ‐17.00         ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐204.00
          Property Tax                      ‐564.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00        ‐564.00
          Rent                                 0.00          0.00            0.00            0.00            0.00          0.00           0.00            0.00           0.00          0.00          0.00          0.00           0.00
          Storage                           ‐915.00       ‐915.00         ‐915.00         ‐915.00         ‐915.00       ‐915.00        ‐915.00         ‐915.00        ‐915.00       ‐915.00       ‐915.00       ‐915.00     ‐10,980.00
          Software                          ‐581.00       ‐581.00         ‐581.00         ‐581.00         ‐581.00       ‐581.00        ‐581.00         ‐581.00        ‐581.00       ‐581.00       ‐581.00       ‐581.00      ‐6,972.00
          Supplies                          ‐136.85       ‐136.85         ‐136.85         ‐136.85         ‐136.85       ‐136.85        ‐136.85         ‐136.85        ‐136.85       ‐136.85       ‐136.85       ‐136.85      ‐1,642.20
          Telephone & Fax                   ‐194.25       ‐194.25         ‐194.25         ‐194.25         ‐194.25       ‐194.25        ‐194.25         ‐194.25        ‐194.25       ‐194.25       ‐194.25       ‐194.25      ‐2,331.00
          Workman's Comp Insuance           ‐130.00       ‐130.00         ‐130.00         ‐130.00         ‐130.00       ‐130.00        ‐130.00         ‐130.00        ‐130.00       ‐130.00       ‐130.00       ‐130.00      ‐1,560.00
          Frances Barber‐Buchanan         ‐8,079.00     ‐8,079.00       ‐8,079.00       ‐8,079.00       ‐8,079.00     ‐8,079.00      ‐8,079.00       ‐8,079.00      ‐8,079.00     ‐8,079.00     ‐8,079.00     ‐8,079.00     ‐96,948.00
          Harry G. McMahon, III          ‐18,023.00    ‐18,023.00      ‐18,023.00      ‐18,023.00      ‐18,023.00    ‐18,023.00     ‐18,023.00      ‐18,023.00     ‐18,023.00    ‐18,023.00    ‐18,023.00    ‐18,023.00    ‐216,276.00
          Pedro Vega                      ‐2,620.00     ‐2,620.00       ‐2,620.00       ‐2,620.00       ‐2,620.00     ‐2,620.00      ‐2,620.00       ‐2,620.00      ‐2,620.00     ‐2,620.00     ‐2,620.00     ‐2,620.00     ‐31,440.00
          Toghrul Mammadov                ‐6,465.00     ‐6,465.00       ‐6,465.00       ‐6,465.00       ‐6,465.00     ‐6,465.00      ‐6,465.00       ‐6,465.00      ‐6,465.00     ‐6,465.00     ‐6,465.00     ‐6,465.00     ‐77,580.00
          Scott Van Dyke                 ‐60,000.00    ‐60,000.00      ‐60,000.00      ‐60,000.00      ‐60,000.00    ‐60,000.00     ‐60,000.00      ‐60,000.00     ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐720,000.00
          Group Insurance                 ‐4,326.00     ‐4,326.00       ‐4,326.00       ‐4,326.00       ‐4,326.00     ‐4,326.00      ‐4,326.00       ‐4,326.00      ‐4,326.00     ‐4,326.00     ‐4,326.00     ‐4,326.00     ‐51,912.00

    Total Expense                       ‐157,910.83   ‐157,346.83     ‐108,096.83     ‐107,346.83     ‐107,346.83   ‐107,346.83    ‐107,346.83     ‐107,346.83    ‐107,346.83   ‐167,346.83   ‐127,346.83   ‐107,346.83   ‐1,469,475.96
    Cash at end of Month                  92,089.17     92,653.17     ‐108,096.83     ‐107,346.83      242,653.17   ‐107,346.83    ‐107,346.83     ‐107,346.83     ‐23,919.08     14,035.79    100,389.26    131,461.18      111,878.50
    Annual Cumulative                     92,089.17    184,742.34       76,645.51      ‐30,701.32      211,951.85    104,605.02      ‐2,741.81     ‐110,088.64    ‐134,007.72   ‐119,971.93    ‐19,582.67    111,878.50
    5‐Year Cummulative                    92,089.17    184,742.34       76,645.51      ‐30,701.32      211,951.85    104,605.02      ‐2,741.81     ‐110,088.64    ‐134,007.72   ‐119,971.93    ‐19,582.67    111,878.50




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                                                                                      Texas Petroelum Operations, LLC
05/17/21                                                            Case 21-60052 Document  89-5 Filed in TXSB on 12/13/21 Page 3 of 6
Cash Basis                                                                                            Five year Projection
                                                                                                          2022 - 2026

                                        January       February         March         April         May           June           July        August        September      October       November      December         Total
                       2023
    Source of Funds
           Adams 1                                                                                                                                                                                                         0.00
           Adams 2                                                                                                                                                                                                         0.00
           Adams 3                                                                                                                                                                                                         0.00
           Adams 4                                                                                                                                                                                                         0.00
    Total Funds                         239,195.74     209,689.30      216,686.77   166,125.44    156,773.82    143,884.22    142,349.22    136,006.18     125,837.58    124,094.81     107,336.61    101,397.18   1,869,376.87

    Expense
          Bank Fees                           ‐5.00         ‐5.00           ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00          ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐60.00
          Business Entertainment               0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Dues & Subscriptions                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          General Liability Insurance     ‐1,472.00     ‐1,472.00       ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00      ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐17,664.00
          Interest on Loans                    0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Consultants                          0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00    ‐20,000.00    ‐20,000.00          0.00     ‐40,000.00
          Leases & Legal                       0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Debt Repayment                 ‐17,631.27    ‐17,631.27      ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27     ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐211,575.24
          Permits                              0.00          0.00         ‐750.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐750.00
          Plotter Lease                     ‐216.06       ‐216.06         ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06        ‐216.06       ‐216.06       ‐216.06       ‐216.06      ‐2,592.72
          Postage & Delivery                 ‐17.00        ‐17.00          ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00         ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐204.00
          Property Tax                      ‐564.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐564.00
          Rent                                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Storage                           ‐915.00       ‐915.00         ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00        ‐915.00       ‐915.00       ‐915.00       ‐915.00     ‐10,980.00
          Software                          ‐581.00       ‐581.00         ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00        ‐581.00       ‐581.00       ‐581.00       ‐581.00      ‐6,972.00
          Supplies                          ‐136.85       ‐136.85         ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85        ‐136.85       ‐136.85       ‐136.85       ‐136.85      ‐1,642.20
          Telephone & Fax                   ‐194.25       ‐194.25         ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25        ‐194.25       ‐194.25       ‐194.25       ‐194.25      ‐2,331.00
          Workman's Comp Insuance           ‐142.00       ‐142.00         ‐142.00       ‐142.00       ‐142.00       ‐142.00       ‐142.00       ‐142.00        ‐142.00       ‐142.00       ‐142.00       ‐142.00      ‐1,704.00
          Frances Barber‐Buchanan         ‐8,483.00     ‐8,483.00       ‐8,483.00     ‐8,483.00     ‐8,483.00     ‐8,483.00     ‐8,483.00     ‐8,483.00      ‐8,483.00     ‐8,483.00     ‐8,483.00     ‐8,483.00    ‐101,796.00
          Harry G. McMahon, III          ‐18,925.00    ‐18,925.00      ‐18,925.00    ‐18,925.00    ‐18,925.00    ‐18,925.00    ‐18,925.00    ‐18,925.00     ‐18,925.00    ‐18,925.00    ‐18,925.00    ‐18,925.00    ‐227,100.00
          Pedro Vega                      ‐2,751.00     ‐2,751.00       ‐2,751.00     ‐2,751.00     ‐2,751.00     ‐2,751.00     ‐2,751.00     ‐2,751.00      ‐2,751.00     ‐2,751.00     ‐2,751.00     ‐2,751.00     ‐33,012.00
          Toghrul Mammadov                ‐6,788.00     ‐6,788.00       ‐6,788.00     ‐6,788.00     ‐6,788.00     ‐6,788.00     ‐6,788.00     ‐6,788.00      ‐6,788.00     ‐6,788.00     ‐6,788.00     ‐6,788.00     ‐81,456.00
          Scott Van Dyke                 ‐60,000.00    ‐60,000.00      ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00     ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐720,000.00
          Group Insurance                 ‐4,759.00     ‐4,759.00       ‐4,759.00     ‐4,759.00     ‐4,759.00     ‐4,759.00     ‐4,759.00     ‐4,759.00      ‐4,759.00     ‐4,759.00     ‐4,759.00     ‐4,759.00     ‐57,108.00

    Total Expense                       ‐123,580.43   ‐123,016.43     ‐123,766.43   ‐123,016.43   ‐123,016.43   ‐123,016.43   ‐123,016.43   ‐123,016.43    ‐123,016.43   ‐143,016.43   ‐143,016.43   ‐123,016.43   ‐1,517,511.16
    Cash at end of month                 115,615.31     86,672.87       92,920.34     43,109.01     33,757.39     20,867.79     19,332.79     12,989.75       2,821.15    ‐18,921.62    ‐35,679.82    ‐21,619.25      351,865.71
    Annual Cumulative                    115,615.31    202,288.18      295,208.52    338,317.54    372,074.92    392,942.71    412,275.50    425,265.25     428,086.40    409,164.78    373,484.96    351,865.71
    5‐Year Cummulative                   227,493.82    314,166.68      407,087.03    450,196.04    483,953.43    504,821.21    524,154.01    537,143.75     539,964.91    521,043.29    485,363.46    463,744.21




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                                                                                      Texas Petroelum Operations, LLC
05/17/21                                                            Case 21-60052 Document  89-5 Filed in TXSB on 12/13/21 Page 4 of 6
Cash Basis                                                                                            Five year Projection
                                                                                                          2022 - 2026

                                        January       February         March         April         May           June           July        August        September      October       November      December         Total
                       2024
    Source of Funds
           Adams 1                                                                                                                                                                                                         0.00
           Adams 2                                                                                                                                                                                                         0.00
           Adams 3                                                                                                                                                                                                         0.00
           Adams 4                                                                                                                                                                                                         0.00
    Total Funds                          92,014.10      76,603.49      71,096.47    106,518.78    147,257.97    138,741.18    140,033.30    136,077.79     127,537.86    129,221.64     124,554.39    131,521.03   1,421,178.02

    Expense
          Bank Fees                           ‐5.00         ‐5.00           ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00          ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐60.00
          Business Entertainment               0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Dues & Subscriptions                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          General Liability Insurance     ‐1,472.00     ‐1,472.00       ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00      ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐17,664.00
          Interest on Loans                    0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Consultants                          0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00    ‐20,000.00          0.00          0.00     ‐20,000.00
          Leases & Legal                       0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Debt Repayment                 ‐17,631.27    ‐17,631.27      ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27     ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐211,575.24
          Permits                              0.00          0.00         ‐750.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐750.00
          Plotter Lease                     ‐216.06       ‐216.06         ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06        ‐216.06       ‐216.06       ‐216.06       ‐216.06      ‐2,592.72
          Postage & Delivery                 ‐17.00        ‐17.00          ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00         ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐204.00
          Property Tax                      ‐564.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐564.00
          Rent                                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Storage                           ‐915.00       ‐915.00         ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00        ‐915.00       ‐915.00       ‐915.00       ‐915.00     ‐10,980.00
          Software                          ‐581.00       ‐581.00         ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00        ‐581.00       ‐581.00       ‐581.00       ‐581.00      ‐6,972.00
          Supplies                          ‐136.85       ‐136.85         ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85        ‐136.85       ‐136.85       ‐136.85       ‐136.85      ‐1,642.20
          Telephone & Fax                   ‐194.25       ‐194.25         ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25        ‐194.25       ‐194.25       ‐194.25       ‐194.25      ‐2,331.00
          Workman's Comp Insuance           ‐149.00       ‐149.00         ‐149.00       ‐149.00       ‐149.00       ‐149.00       ‐149.00       ‐149.00        ‐149.00       ‐149.00       ‐149.00       ‐149.00      ‐1,788.00
          Frances Barber‐Buchanan         ‐8,907.00     ‐8,907.00       ‐8,907.00     ‐8,907.00     ‐8,907.00     ‐8,907.00     ‐8,907.00     ‐8,907.00      ‐8,907.00     ‐8,907.00     ‐8,907.00     ‐8,907.00    ‐106,884.00
          Harry G. McMahon, III          ‐19,871.00    ‐19,871.00      ‐19,871.00    ‐19,871.00    ‐19,871.00    ‐19,871.00    ‐19,871.00    ‐19,871.00     ‐19,871.00    ‐19,871.00    ‐19,871.00    ‐19,871.00    ‐238,452.00
          Pedro Vega                      ‐2,889.00     ‐2,889.00       ‐2,889.00     ‐2,889.00     ‐2,889.00     ‐2,889.00     ‐2,889.00     ‐2,889.00      ‐2,889.00     ‐2,889.00     ‐2,889.00     ‐2,889.00     ‐34,668.00
          Toghrul Mammadov                ‐7,127.00     ‐7,127.00       ‐7,127.00     ‐7,127.00     ‐7,127.00     ‐7,127.00     ‐7,127.00     ‐7,127.00      ‐7,127.00     ‐7,127.00     ‐7,127.00     ‐7,127.00     ‐85,524.00
          Scott Van Dyke                 ‐70,000.00    ‐70,000.00      ‐70,000.00    ‐70,000.00    ‐70,000.00    ‐70,000.00    ‐70,000.00    ‐70,000.00     ‐70,000.00    ‐70,000.00    ‐70,000.00    ‐70,000.00    ‐840,000.00
          Group Insurance                 ‐5,234.00     ‐5,234.00       ‐5,234.00     ‐5,234.00     ‐5,234.00     ‐5,234.00     ‐5,234.00     ‐5,234.00      ‐5,234.00     ‐5,234.00     ‐5,234.00     ‐5,234.00     ‐62,808.00

    Total Expense                       ‐135,909.43   ‐135,345.43     ‐136,095.43   ‐135,345.43   ‐135,345.43   ‐135,345.43   ‐135,345.43   ‐135,345.43    ‐135,345.43   ‐155,345.43   ‐135,345.43   ‐135,345.43   ‐1,645,459.16
    Cash at end of month                 ‐43,895.33    ‐58,741.94      ‐64,998.96    ‐28,826.65     11,912.54      3,395.75      4,687.87        732.36      ‐7,807.57    ‐26,123.79    ‐10,791.04     ‐3,824.40     ‐224,281.14
    Annual Cumulative                    ‐43,895.33   ‐102,637.27     ‐167,636.23   ‐196,462.88   ‐184,550.33   ‐181,154.58   ‐176,466.71   ‐175,734.34    ‐183,541.91   ‐209,665.71   ‐220,456.74   ‐224,281.14
    5‐Year Cummulative                   419,848.89    361,106.94      296,107.98    267,281.34    279,193.88    282,589.63    287,277.50    288,009.87     280,202.30    254,078.51    243,287.47    239,463.07




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                                                                                      Texas Petroelum Operations, LLC
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Cash Basis                                                                                            Five year Projection
                                                                                                          2022 - 2026

                                        January       February         March         April         May           June           July        August        September      October       November      December         Total
                       2025
    Source of Funds
           Adams 1                                                                                                                                                                                                         0.00
           Adams 2                                                                                                                                                                                                         0.00
           Adams 3                                                                                                                                                                                                         0.00
           Adams 4                                                                                                                                                                                                         0.00
    Total Funds                         131,110.98     114,105.53      117,975.96   100,320.34     90,675.41     78,320.30     73,458.26     66,885.81      59,155.66    110,004.44     142,046.97    149,166.53   1,233,226.19

    Expense
          Bank Fees                           ‐5.00         ‐5.00           ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00          ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐60.00
          Business Entertainment               0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Dues & Subscriptions                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          General Liability Insurance     ‐1,472.00     ‐1,472.00       ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00      ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐17,664.00
          Interest on Loans                    0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Consultants                          0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Leases & Legal                       0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Debt Repayment                 ‐17,631.27    ‐17,631.27      ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27     ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐17,631.27    ‐211,575.24
          Permits                              0.00          0.00         ‐750.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐750.00
          Plotter Lease                     ‐216.06       ‐216.06         ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06        ‐216.06       ‐216.06       ‐216.06       ‐216.06      ‐2,592.72
          Postage & Delivery                 ‐17.00        ‐17.00          ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00         ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐204.00
          Property Tax                      ‐564.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐564.00
          Rent                                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Storage                           ‐915.00       ‐915.00         ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00        ‐915.00       ‐915.00       ‐915.00       ‐915.00     ‐10,980.00
          Software                          ‐581.00       ‐581.00         ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00        ‐581.00       ‐581.00       ‐581.00       ‐581.00      ‐6,972.00
          Supplies                          ‐136.85       ‐136.85         ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85        ‐136.85       ‐136.85       ‐136.85       ‐136.85      ‐1,642.20
          Telephone & Fax                   ‐194.25       ‐194.25         ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25        ‐194.25       ‐194.25       ‐194.25       ‐194.25      ‐2,331.00
          Workman's Comp Insuance           ‐156.00       ‐156.00         ‐156.00       ‐156.00       ‐156.00       ‐156.00       ‐156.00       ‐156.00        ‐156.00       ‐156.00       ‐156.00       ‐156.00      ‐1,872.00
          Frances Barber‐Buchanan         ‐9,352.00     ‐9,352.00       ‐9,352.00     ‐9,352.00     ‐9,352.00     ‐9,352.00     ‐9,352.00     ‐9,352.00      ‐9,352.00     ‐9,352.00     ‐9,352.00     ‐9,352.00    ‐112,224.00
          Harry G. McMahon, III          ‐20,864.00    ‐20,864.00      ‐20,864.00    ‐20,864.00    ‐20,864.00    ‐20,864.00    ‐20,864.00    ‐20,864.00     ‐20,864.00    ‐20,864.00    ‐20,864.00    ‐20,864.00    ‐250,368.00
          Pedro Vega                      ‐3,033.00     ‐3,033.00       ‐3,033.00     ‐3,033.00     ‐3,033.00     ‐3,033.00     ‐3,033.00     ‐3,033.00      ‐3,033.00     ‐3,033.00     ‐3,033.00     ‐3,033.00     ‐36,396.00
          Toghrul Mammadov                ‐7,484.00     ‐7,484.00       ‐7,484.00     ‐7,484.00     ‐7,484.00     ‐7,484.00     ‐7,484.00     ‐7,484.00      ‐7,484.00     ‐7,484.00     ‐7,484.00     ‐7,484.00     ‐89,808.00
          Scott Van Dyke                 ‐60,000.00    ‐60,000.00      ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00     ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐60,000.00    ‐720,000.00
          Group Insurance                 ‐5,784.00     ‐5,784.00       ‐5,784.00     ‐5,784.00     ‐5,784.00     ‐5,784.00     ‐5,784.00     ‐5,784.00      ‐5,784.00     ‐5,784.00     ‐5,784.00     ‐5,784.00     ‐69,408.00

    Total Expense                       ‐128,405.43   ‐127,841.43     ‐128,591.43   ‐127,841.43   ‐127,841.43   ‐127,841.43   ‐127,841.43   ‐127,841.43    ‐127,841.43   ‐127,841.43   ‐127,841.43   ‐127,841.43   ‐1,535,411.16
    Cash at end of month                   2,705.55    ‐13,735.90      ‐10,615.47    ‐27,521.09    ‐37,166.02    ‐49,521.13    ‐54,383.17    ‐60,955.62     ‐68,685.77    ‐17,836.99     14,205.54     21,325.10     ‐302,184.97
    Annual Cumulative                      2,705.55    ‐11,030.35      ‐21,645.82    ‐49,166.91    ‐86,332.94   ‐135,854.06   ‐190,237.23   ‐251,192.85    ‐319,878.62   ‐337,715.61   ‐323,510.07   ‐302,184.97
    5‐Year Cummulative                   242,168.62    228,432.72      217,817.25    190,296.16    153,130.13    103,609.01     49,225.84    ‐11,729.78     ‐80,415.55    ‐98,252.54    ‐84,047.00    ‐62,721.90




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                                                                                      Texas Petroelum Operations, LLC
05/17/21                                                            Case 21-60052 Document  89-5 Filed in TXSB on 12/13/21 Page 6 of 6
Cash Basis                                                                                            Five year Projection
                                                                                                          2022 - 2026

                                        January       February         March         April         May           June           July        August        September      October       November      December         Total
                       2026
    Source of Funds
           Adams 1                                                                                                                                                                                                         0.00
           Adams 2                                                                                                                                                                                                         0.00
           Adams 3                                                                                                                                                                                                         0.00
           Adams 4                                                                                                                                                                                                         0.00
    Total Funds                         148,100.56     128,533.85      133,518.83   115,284.29    115,659.73    110,514.00    113,008.44    110,974.34     105,089.14    105,645.81      92,958.89     90,091.99   1,369,379.86

    Expense
          Bank Fees                           ‐5.00         ‐5.00           ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐5.00          ‐5.00         ‐5.00         ‐5.00         ‐5.00         ‐60.00
          Business Entertainment               0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Dues & Subscriptions                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          General Liability Insurance     ‐1,472.00     ‐1,472.00       ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00      ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐1,472.00     ‐17,664.00
          Interest on Loans                    0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Consultants                          0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Leases & Legal                       0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Debt Repayment                       0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Permits                              0.00          0.00         ‐750.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐750.00
          Plotter Lease                     ‐216.06       ‐216.06         ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06       ‐216.06        ‐216.06       ‐216.06       ‐216.06       ‐216.06      ‐2,592.72
          Postage & Delivery                 ‐17.00        ‐17.00          ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐17.00         ‐17.00        ‐17.00        ‐17.00        ‐17.00        ‐204.00
          Property Tax                      ‐564.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00        ‐564.00
          Rent                                 0.00          0.00            0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00
          Storage                           ‐915.00       ‐915.00         ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00       ‐915.00        ‐915.00       ‐915.00       ‐915.00       ‐915.00     ‐10,980.00
          Software                          ‐581.00       ‐581.00         ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00       ‐581.00        ‐581.00       ‐581.00       ‐581.00       ‐581.00      ‐6,972.00
          Supplies                          ‐136.85       ‐136.85         ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85       ‐136.85        ‐136.85       ‐136.85       ‐136.85       ‐136.85      ‐1,642.20
          Telephone & Fax                   ‐194.25       ‐194.25         ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25       ‐194.25        ‐194.25       ‐194.25       ‐194.25       ‐194.25      ‐2,331.00
          Workman's Comp Insuance           ‐163.00       ‐163.00         ‐163.00       ‐163.00       ‐163.00       ‐163.00       ‐163.00       ‐163.00        ‐163.00       ‐163.00       ‐163.00       ‐163.00      ‐1,956.00
          Frances Barber‐Buchanan         ‐9,821.00     ‐9,821.00       ‐9,821.00     ‐9,821.00     ‐9,821.00     ‐9,821.00     ‐9,821.00     ‐9,821.00      ‐9,821.00     ‐9,821.00     ‐9,821.00     ‐9,821.00    ‐117,852.00
          Harry G. McMahon, III          ‐21,917.00    ‐21,907.00      ‐21,907.00    ‐21,907.00    ‐21,907.00    ‐21,907.00    ‐21,907.00    ‐21,907.00     ‐21,907.00    ‐21,907.00    ‐21,907.00    ‐21,907.00    ‐262,894.00
          Pedro Vega                      ‐3,185.00     ‐3,185.00       ‐3,185.00     ‐3,185.00     ‐3,185.00     ‐3,185.00     ‐3,185.00     ‐3,185.00      ‐3,185.00     ‐3,185.00     ‐3,185.00     ‐3,185.00     ‐38,220.00
          Toghrul Mammadov                ‐7,858.00     ‐7,858.00       ‐7,858.00     ‐7,858.00     ‐7,858.00     ‐7,858.00     ‐7,858.00     ‐7,858.00      ‐7,858.00     ‐7,858.00     ‐7,858.00     ‐7,858.00     ‐94,296.00
          Scott Van Dyke                 ‐50,000.00    ‐50,000.00      ‐50,000.00    ‐50,000.00    ‐50,000.00    ‐50,000.00    ‐50,000.00    ‐50,000.00     ‐50,000.00    ‐50,000.00    ‐50,000.00    ‐50,000.00    ‐600,000.00
          Group Insurance                 ‐6,334.00     ‐6,334.00       ‐6,334.00     ‐6,334.00     ‐6,334.00     ‐6,334.00     ‐6,334.00     ‐6,334.00      ‐6,334.00     ‐6,334.00     ‐6,334.00     ‐6,334.00     ‐76,008.00

    Total Expense                       ‐103,379.16   ‐102,805.16     ‐103,555.16   ‐102,805.16   ‐102,805.16   ‐102,805.16   ‐102,805.16   ‐102,805.16    ‐102,805.16   ‐102,805.16   ‐102,805.16   ‐102,805.16   ‐1,234,985.92
    Cash at end of month                  44,721.40     25,728.69       29,963.67     12,479.13     12,854.57      7,708.84     10,203.28      8,169.18       2,283.98      2,840.65     ‐9,846.27    ‐12,713.17      134,393.94
    Annual Cumulative                     44,721.40     70,450.09      100,413.76    112,892.89    125,747.46    133,456.30    143,659.58    151,828.76     154,112.73    156,953.38    147,107.11    134,393.94
    5‐Year Cummulative                   ‐18,000.50      7,728.19       37,691.86     50,170.99     63,025.56     70,734.40     80,937.68     89,106.86      91,390.83     94,231.48     84,385.21     71,672.04




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